Court of Appeals
of the State of Georgia

                                     ATLANTA,____________________
                                              August 23, 2024

The Court of Appeals hereby passes the following order:

A25E0009. DELANO WRIGHT v. CONNIE TAYLOR, CLERK OF COBB
    SUPERIOR COURT.

      Upon consideration of appellant’s motion for a writ of mandamus, same is
hereby denied for failure to comply with the requirements of Court of Appeals Rule
40 (c).

                                     Court of Appeals of the State of Georgia
                                       Clerk’s Office, Atlanta,____________________
                                                                   08/23/2024
                                                I certify that the above is a true extract from
                                     the minutes of the Court of Appeals of Georgia.
                                               Witness my signature and the seal of said court
                                     hereto affixed the day and year last above written.


                                                                                       , Clerk.
